From:                  John Wilkinson[jwilkinson@southernwine.com]
            Case 2:19-cv-07271-GRB-LGD          Document 39-31 Filed 01/03/23 Page 1 of 83 PageID #: 648
Location:              John's office                                                 EXHIBIT 29
Importance:            Normal
Subject:               Maria's PIP meeting
Start Time:            Wed 1/11/2017 3:30:00 PM (UTC)
End Time:              Wed 1/11/2017 4:30:00 PM (UTC)
Required Attendees:    John Wilkinson; Maria Suarez; Elizabeth Toohig
Optional Attendees:    Maria Suarez

To review and completed our last meeting from Beths office two weeks ago
From:                  Elizabeth Toohig[etoohig@southernwine.com]
            Case 2:19-cv-07271-GRB-LGD         Document 39-31 Filed 01/03/23 Page 2 of 83 PageID #: 649
Attendees:             Elizabeth Toohig
Location:              John's Office
Importance:            Normal
Subject:               Maria Suarez - Training Review
Start Time:            Fri 10/28/2016 1:00:00 PM (UTC)
End Time:              Fri 10/28/2016 1:30:00 PM (UTC)
Required Attendees:    Elizabeth Toohig
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 3 of 83 PageID #: 650
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 4 of 83 PageID #: 651
To: Shanieka
         CaseJean-Charles <shaniekajeancharles@southernwine.com>;
                2:19-cv-07271-GRB-LGD           Document 39-31 Filed   Andrea  Metzger <AndreaMetzger@southernwine.com>
                                                                            01/03/23    Page 5 of 83 PageID #: 652
Cc: Tonisha Durant <tdurant@southernwine.com>; Kevin Randall <krandall@SOUTHERNWINE.com>
Subject: Maria Suarez

Would either of you be able to meet to discuss Marias constant errors when it comes to WMI. I have attached 2 emails.



John Wilkinson
Director of Warehouse
Southern Wine & Spirits of New York, Inc.
Direct 516-730-3677
Mobile 516-592-1122

Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 6 of 83 PageID #: 653
Subject:               Maria Suarez
            Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 7 of 83 PageID #: 654
Priority:              Normal
Status:                Completed
Percent Complete:      100%
Start Date:            Fri 12/2/2016 12:00:00 AM (UTC)
Due Date:              Fri 12/2/2016 12:00:00 AM (UTC)
Owner:                 Elizabeth Toohig
FW: Maria's Training
To:       Elizabeth Toohig[etoohig@southernwine.com]
Cc:       Case   2:19-cv-07271-GRB-LGD Document
          Roy Kohn[rkohn@southernwine.com]                   39-31 Filed 01/03/23 Page 8 of 83 PageID #: 655
From:     Kevin Randall[krandall@SOUTHERNWINE.com]
Sent:     Mon 11/28/2016 7:25:05 PM (UTC)
Subject: FW: Maria's Training
Pick Pack Status 10.pdf
Pick Pack Status 40.pdf
Rcv Rtn Returns not varified as of 11 15.pdf
Rcv Rtn Returns not varified as of 11 23.pdf
Stock Locator Status 10.pdf
Stock Locator Status 65.pdf
TAsk Management Status 08.pdf
Task Management Status 10.pdf
Task Management Status 20.pdf

 Beth
 
 Mellissa sent the attached examples of documentation on things that Maria was trained on that she is not doing. We should
 review and determine next steps in her progressive discipline
 
 Thanks
 
 
 From: Melissa M. Johnson (Decker)
 Sent: Wednesday, November 23, 2016 2:15 PM
 To: Kevin Randall; John Wilkinson
 Subject: RE: Maria's Training
 
 Here are the scans of all items that have not been done
 
 Each batch has an explanation on the cover page
 
 If you have any questions, feel free to contact me
 
 Thank You
 
 Melissa Johnson
 WMI Admin/Inv Control
 (T) 315-454-5846
 
 From: Melissa M. Johnson (Decker)
 Sent: Wednesday, November 23, 2016 1:44 PM
 To: Kevin Randall <krandall@SOUTHERNWINE.com>; John Wilkinson <jwilkinson@southernwine.com>
 Subject: RE: Maria's Training
 
 Working on the scans now
 
 Should be to you within half an hour
 
 Thank You
 
 Melissa Johnson
 WMI Admin/Inv Control
 (T) 315-454-5846
 
 From: Kevin Randall
 Sent: Wednesday, November 23, 2016 10:33 AM
 To: Melissa M. Johnson (Decker) <MelissaMJohnson@southernwine.com>; John Wilkinson <jwilkinson@southernwine.com>
 Subject: RE: Maria's Training

         Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 9 of 83 PageID #: 656
Please send them to me. I will forward to HR

Thanks

From: Melissa M. Johnson (Decker)
Sent: Wednesday, November 23, 2016 10:08 AM
To: Kevin Randall; John Wilkinson
Subject: Maria's Training

I have documentation on things that Maria was trained on that she is not doing

Who should I send this information to?

Thank You

Melissa Johnson
WMI Admin/Inv Control
(T) 315-454-5846

Subject:               Contact John W re: MariaDocument
            Case 2:19-cv-07271-GRB-LGD          Suarez  39-31 Filed 01/03/23 Page 10 of 83 PageID #: 657
Priority:                  Normal
Status:                    Completed
Percent Complete:          100%
Start Date:                Wed 8/24/2016 12:00:00 AM (UTC)
Due Date:                  Wed 8/24/2016 12:00:00 AM (UTC)
Owner:                     Elizabeth Toohig
RE: sitting with daniel
Fwd: sitting with daniel
FW: Maria Suarez training
To:         Elizabeth Toohig[etoohig@southernwine.com]
Cc:        Case
            Kevin 2:19-cv-07271-GRB-LGD     Document 39-31 Filed 01/03/23 Page 11 of 83 PageID #: 658
                  Randall[krandall@SOUTHERNWINE.com]
From:       Roy Kohn[rkohn@southernwine.com]
Sent:       Thur 8/18/2016 3:31:41 PM (UTC)
Subject:    RE: sitting with daniel

 Maria has created a difficult atmosphere with many of the visitor. She consistently tells them that she knows
 how to do whatever they are discussing, and spends her time in her office. She has been repeatedly told to be
 on the floor with the experts, but chooses to ignore the direction.
 
 This needs HR steering. It is better that you are involved in this during in the process then after the
 discussions potentially degrade. Unfortunately, Maria has not only acted this way towards Daniel, but she has
 done the same thing with many others. She lashed out at Melissa Johnson several times telling her that she
 was not her boss, that she knows way more than her, and that she was going home. My opinion is that
 Melissa is the most talented WMi user in the country. She was selected to be on the national installation team
 and has been part of more than 10 startups. If Melissa was willing to teach her while working 80 hours per
 week in the Metro market, Maria should have been receptive. She chooses not to be engaged.
 
 Last night I was told that she deleted 200+/- items with negative inventory without ever checking the locations.
 This not only created havoc, it displays that she does not understand the impact of her adjustments. Please
 stay in the middle of this because I sense the situation will worsen.
 
 From: Elizabeth Toohig
 Sent: Thursday, August 18, 2016 7:45 AM
 To: Kevin Randall <krandall@SOUTHERNWINE.com>; Roy Kohn <rkohn@southernwine.com>
 Subject: RE: sitting with daniel
 
 Once John sits with her and explains what needs to be done he needs to send it to her in an email. If she is not going to follow the
 new processes it should be documented. Shanieka can help John if he wants it.
 
 Thanks,
 Beth
 
 From: Kevin Randall
 Sent: Thursday, August 18, 2016 1:48 AM
 To: Roy Kohn <rkohn@southernwine.com>
 Cc: Elizabeth Toohig <etoohig@southernwine.com>
 Subject: Fwd: sitting with daniel
 
 Another example of Maria not working with our out of town guests. They are done working with her.

 Sent from my iPhone
 Begin forwarded message:

       From: John Wilkinson <jwilkinson@southernwine.com>
       Date: August 17, 2016 at 4:11:13 PM EDT
       To: Kevin Randall <krandall@SOUTHERNWINE.com>
       Subject: FW: sitting with daniel

       Wow. Im going to sit with her and explain how this needs to be done. Stinking fire alarm etc , another day of loss
       productivity
       
       From: Maria Suarez
       Sent: Wednesday, August 17, 2016 2:34 PM
       To: John Wilkinson <jwilkinson@southernwine.com>
       Subject: sitting with daniel
       
       I just want you to know that he didnt teach me anything, had nothing to show to me, just wanted to tell me than I
am supposed to be on a cherry picker counting behind the cycle counters, also that I am wasting man hours putting
 Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 12 of 83 PageID #: 659
Justin to recount behind the others. I take orders from my boss, you tell me what to do.
Maria
To:         Roy Kohn[rkohn@southernwine.com]
Cc:        Case   2:19-cv-07271-GRB-LGD
            Elizabeth                          Document 39-31 Filed 01/03/23 Page 13 of 83 PageID #: 660
                      Toohig[etoohig@southernwine.com]
From:       Kevin Randall[krandall@SOUTHERNWINE.com]
Sent:       Thur 8/18/2016 5:47:39 AM (UTC)
Subject:    Fwd: sitting with daniel

Another example of Maria not working with our out of town guests. They are done working with her.

Sent from my iPhone

Begin forwarded message:


       From: John Wilkinson <jwilkinson@southernwine.com>
       Date: August 17, 2016 at 4:11:13 PM EDT
       To: Kevin Randall <krandall@SOUTHERNWINE.com>
       Subject: FW: sitting with daniel


       Wow. Im going to sit with her and explain how this needs to be done. Stinking fire alarm etc , another day of loss
       productivity
       
       From: Maria Suarez
       Sent: Wednesday, August 17, 2016 2:34 PM
       To: John Wilkinson <jwilkinson@southernwine.com>
       Subject: sitting with daniel
       
       I just want you to know that he didnt teach me anything, had nothing to show to me, just wanted to tell me than I
       am supposed to be on a cherry picker counting behind the cycle counters, also that I am wasting man hours putting
       Justin to recount behind the others. I take orders from my boss, you tell me what to do.
       Maria
To:         Roy Kohn[rkohn@southernwine.com]
Cc:        Case   2:19-cv-07271-GRB-LGD
            Elizabeth                          Document 39-31 Filed 01/03/23 Page 14 of 83 PageID #: 661
                      Toohig[etoohig@southernwine.com]
From:       Kevin Randall[krandall@SOUTHERNWINE.com]
Sent:       Thur 8/4/2016 11:24:39 PM (UTC)
Subject:    FW: Maria Suarez training

See read below. We may need counseling

-----Original Message-----
From: Melissa M. Johnson (Decker)
Sent: Thursday, August 04, 2016 5:06 PM
To: Kevin Randall
Cc: EricMeyer@sgws.com; Stephen Fennelly
Subject: Maria Suarez training

Kevin,
I have reached out to Maria a few times to help her with the reconciliation report and her duties as the admin of the system. I have been
met with a lot of resistance and do not feel that I have been able to train her very adequately. It seems that all that I tell her she
questions if I know what I'm talking about. I am on sure of the reason for the resistance, but I am on able to train her to the best of my
abilities. I am on sure how she will be able to accomplish being the admin and keeping up with the system if she's not going to allow for
someone to show her The inns and the outs of everything that needs to be done within the system and checked daily.

I just wanted to update you on some of the issues

She has counted multiple items in without doing the proper research of the reason for that meeting the record for 1

She has also counted product out that was on the receiving dock. Tonisha has the information in regards to these palettes and had to
re-create them as we physically have the stock in our unaware of why she took them out of your system.

With this system in the breakdown of the personnel and how things will be handled, I believe a meeting needs to be set up with all
involved to clarify all duties that are required by each person and reiterate that communication is a key factor in making sure that the
system and the inventory are as accurate as possible.

I will be back in the office on Monday morning if you need me to clarify any issues or concerns that I may have

Thank you


Sent from my iPhone
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       Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 16 of 83 PageID #: 663




From:
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Subject:



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Subject:




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Subject:
        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 17 of 83 PageID #: 664
From:
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To:
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Subject:
        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 18 of 83 PageID #: 665




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Sent: Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 19 of 83 PageID #: 666
To:
Cc:
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Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 20 of 83 PageID #: 667
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 21 of 83 PageID #: 668
To:
From:      Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 22 of 83 PageID #: 669
Sent:
Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 23 of 83 PageID #: 670
To:
From:      Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 24 of 83 PageID #: 671
Sent:
Subject:




 From:
 Sent:
 To:
 Subject:
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 25 of 83 PageID #: 672
From:
Sent:
Subject:
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 26 of 83 PageID #: 673
From:
Sent:
Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 27 of 83 PageID #: 674
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 28 of 83 PageID #: 675
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 29 of 83 PageID #: 676
From:
Sent:
Subject:
To:
From:      Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 30 of 83 PageID #: 677
Sent:
Subject:




 From:
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 Subject:
To:
           Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 31 of 83 PageID #: 678
From:
Sent:
Subject:
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Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 58 of 83 PageID #: 705
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 59 of 83 PageID #: 706
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 60 of 83 PageID #: 707
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 61 of 83 PageID #: 708
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Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 63 of 83 PageID #: 710
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Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 66 of 83 PageID #: 713
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 67 of 83 PageID #: 714
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 68 of 83 PageID #: 715
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Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 71 of 83 PageID #: 718
To:
           Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 72 of 83 PageID #: 719
From:
Sent:
Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 73 of 83 PageID #: 720
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 74 of 83 PageID #: 721
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 75 of 83 PageID #: 722
To:
From:      Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 76 of 83 PageID #: 723
Sent:
Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 77 of 83 PageID #: 724
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 78 of 83 PageID #: 725
From:
Sent:
Subject:




 From:
 Sent:
 To:
 Cc:
 Subject:




       From:
       Sent:
       To:
       Cc:
       Subject:



       From:
       Sent:
       To:
       Cc:
       Subject:
 Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 79 of 83 PageID #: 726
Thank You

Melissa Johnson
WMI Admin/Inv Control
(T) 315-454-5846
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 80 of 83 PageID #: 727
From:
Sent:
Subject:
Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 81 of 83 PageID #: 728
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 82 of 83 PageID #: 729
From:
Sent:
Subject:
To:
Cc:        Case 2:19-cv-07271-GRB-LGD Document 39-31 Filed 01/03/23 Page 83 of 83 PageID #: 730
From:
Sent:
Subject:
